           Case 1:14-vv-00857-UNJ Document 35 Filed 09/23/16 Page 1 of 7




        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 14-857V
                                    Filed: October 30, 2015
                                        UNPUBLISHED

****************************
DENNIS PARKER,                           *
                                         *
                     Petitioner,         *     Joint Stipulation on Damages;
                                         *     Influenza (“Flu”) Vaccination;
                                         *     Guillain-Barre Syndrome (“GBS”);
SECRETARY OF HEALTH                      *     Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                      *
                                         *
                     Respondent.         *
                                         *
****************************
Diana Stadelnikas Sedar, Maglio Christopher and Toale, PA, Sarasota, FL, for
petitioner.
Adriana Teitel, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION1

Dorsey, Chief Special Master:

       On September 16, 2014, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 [the
“Vaccine Act”]. Petitioner alleges that he suffered Guillain-Barre Syndrome [“GBS”]
due to the influenza [“flu”] vaccination he received on November 28, 2012. Petition, ¶¶
1, 12-13; Stipulation, filed October 30, 2015, ¶¶ 2, 4. Petitioner further alleges that he
experienced the residual effects of this injury for more than six months, has brought no
prior action for this injury, and that he has received no prior award or settlement for this
injury. Petition, ¶¶ 14, 17-18; Stipulation, ¶¶ 4-5. “Respondent denies that petitioner’s
alleged GBS and residual effects were caused-in-fact by the flu vaccine. Respondent
further denies that the flu vaccine caused petitioner any other injury or his current
condition. ” Stipulation, ¶ 6.


1
  Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended
at 44 U.S.C. § 3501 note (2006)). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
           Case 1:14-vv-00857-UNJ Document 35 Filed 09/23/16 Page 2 of 7



        Nevertheless, on October 30, 2015, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. The undersigned
finds the stipulation reasonable and adopts it as the decision of the Court in awarding
damages, on the terms set forth therein.

        The parties stipulated that petitioner shall receive the following compensation:

        A lump sum of $200,000.00 in the form of a check payable to petitioner.
        Stipulation, ¶ 8. This amount represents compensation for all items of damages
        that would be available under 42 U.S.C. § 300aa-15(a). Id.

       The undersigned approves the requested amount for petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment in accordance with this decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.
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Case 1:14-vv-00857-UNJ Document 35
                                25 Filed 09/23/16
                                         10/30/15 Page 3
                                                       1 of 7
                                                            5
Case 1:14-vv-00857-UNJ Document 35
                                25 Filed 09/23/16
                                         10/30/15 Page 4
                                                       2 of 7
                                                            5
Case 1:14-vv-00857-UNJ Document 35
                                25 Filed 09/23/16
                                         10/30/15 Page 5
                                                       3 of 7
                                                            5
Case 1:14-vv-00857-UNJ Document 35
                                25 Filed 09/23/16
                                         10/30/15 Page 6
                                                       4 of 7
                                                            5
Case 1:14-vv-00857-UNJ Document 35
                                25 Filed 09/23/16
                                         10/30/15 Page 7
                                                       5 of 7
                                                            5
